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                                                                           4520
                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK

          - - - - - - - - - - - - - - -        X

          JOHN KOGUT,                          :
                                                   CV 06 6695
                    Plaintiff,                 :

                        -against-              :   U.S. Courthouse
                                                   Central Islip, N.Y.
          COUNTY OF NASSAU, et al,             :

                    Defendants.                : TRANSCRIPT OF PROCEEDINGS

                                               :   October 31, 2012
          - - - - - - - - - - - - - - -        X   10:10 a.m.
          - - - - - - - - - - - - - - -        X

          JOHN RESTIVO,                        :

                    Plaintiff,                 :

                        -against-              :

          NASSAU COUNTY, et al,                :

                    Defendants.                :

          - - - - - - - - - - - - - - -        X


          BEFORE:

                    HONORABLE JOANNA SEYBERT, U.S.D.J.



          Court Reporter:            HARRY RAPAPORT, CSR
                                     United States District Court
                                     100 Federal Plaza
                                     Central Islip, New York 11722
                                     (631) 712-6105




          Proceedings recorded by mechanical stenography.
          Transcript produced by computer-assisted transcription.


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                                                                           4521


          APPEARANCES:

          For the Plaintiffs:      GRANDINETTE & SERIO
                                   114 Old Country Road
                                   Mineola, New York 11501
                                   BY: ANTHONY M. GRANDINETTE, ESQ.

                                   PAUL CASTELEIRO, ESQ.
                                   (Not Present)
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                                   99 Hudson Street
                                   New York, New York 10013
                                   (Not Present)

          For the Defendants:      OFFICE OF THE NASSAU COUNTY ATTORNEY
                                   One West Street
                                   Mineola, New York 11501
                                   By: MICHAEL J. FERGUSON, ESQ.

                                   FREEMAN NOOTER & GINSBERG
                                   30 Vesey Street
                                   New York, New York 10007
                                   BY: LOUIS M. FREEMAN, ESQ.
                                        NADJIA LIMANI, ESQ.




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                                                                           4522
    1                        M O R N I N G         S E S S I O N

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    3

    4                 (Whereupon, the following takes place in the

    5     absence of the jury.)

    6                 THE COURT:    Good morning.

    7                 I see everyone is here nice and dry.

    8                 I did attempt to contact counsel to advise them

    9     that it wouldn't be necessary to come in today but to come

   10     in tomorrow, but not all cell phones and email were

   11     working.

   12                 I do apologize, and maybe we can accomplish

   13     something since I know some of you made a rather long

   14     trip, Mr. Freeman and Ms. Limani.

   15                 So, you want off until Monday; and in as much as

   16     I think it is a grand idea, I'm not inclined to grant that

   17     lengthy of an adjournment.

   18                 A lot of this is a gamble, as Mr. Baran pointed

   19     out, in that we don't know what the status of the jurors

   20     are.   Charley had been in contact with them up until this

   21     Monday.

   22                 Charley?

   23                 THE CLERK:    Yesterday.

   24                 THE COURT:    And you were able to get a hold of

   25     all of them?


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                                                                           4523
    1                 THE CLERK:    Except one.

    2                 THE COURT:    And, and we can get them in tomorrow

    3     is my expectation.

    4                 What is the status of the witnesses?

    5                 There were motions to preclude Mr. French from

    6     testifying.

    7                 MS. LIMANI:     We have two witnesses scheduled for

    8     tomorrow morning.      He was the order before Sandy.

    9                 They are two judges.

   10                 THE COURT:    McCarthy?

   11                 MS. LIMANI:     McCarthy and Peck.

   12                 MR. FERGUSON:     McCarty.

   13                 MS. LIMANI:     Then ADA Peck.

   14                 They cleared their calendars.

   15                 THE COURT:    They don't have much of calendars as

   16     I recall.

   17                 MS. LIMANI:     That is what I was told.

   18                 Our plan today, if the Court feels the jury will

   19     be here tomorrow we will make every effort to get them

   20     here.

   21                 We have to get in touch with people.         But we do

   22     have witnesses who are willing to come in.          It may not be

   23     a full day, but we can do our best to make sure that it

   24     is.

   25                 THE COURT:    Okay.


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                                                                     4524
    1                 MS. LIMANI:    We have provided counsel last night

    2     with some clips of Detective Serianni's testimony with the

    3     option of playing video.

    4                 THE COURT:    How long is it?

    5                 MS. LIMANI:    Not long.    Three clips, maybe an

    6     hour.

    7                 THE COURT:    What about Volpe?      Any clips from

    8     him?

    9                 MS. LIMANI:    Some sections we may be reading and

   10     there may be two clips.

   11                 THE COURT:    How long do you think that would be?

   12                 MS. LIMANI:    Not sure at the moment.       We are

   13     trying to figure it out.

   14                 THE COURT:    But Serianni is a half an hour?

   15                 MS. LIMANI:    An hour.

   16                 THE COURT:    All right.

   17                 MR. FREEMAN:     Dr. Bloom was available this

   18     morning.    And the doctor anticipated autopsies that need

   19     to be done with respect to the storm.         I do believe we can

   20     get her here tomorrow if we are to go forward.

   21                 I know this is not the point you are addressing.

   22     And I think it is fair to mention this now, that if we get

   23     all these people ready for tomorrow, and then we can't go

   24     forward because of the jury, I think it will impact on our

   25     ability to get these people --


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                                                                           4525
    1                 THE COURT:    Back another time?

    2                 MR. FREEMAN:     Yes.

    3                 I'm not saying anything --

    4                 THE COURT:    I wish I had better definitive news.

    5     But the point is that Charley was able to get in touch

    6     with nine of the ten --

    7                 MR. FREEMAN:     I believe we have a new number now

    8     for ten of ten.

    9                 THE COURT:    Have you spoken with ten of ten?

   10                 THE CLERK:    She reported today and was told to

   11     come back tomorrow unless otherwise advised.

   12                 THE COURT:    So, we have the ten advised to be in

   13     here tomorrow; is that correct, Charley?

   14                 THE CLERK:    The most I spoke to directly.        A few

   15     I left messages.

   16                 THE COURT:    Okay.

   17                 Perhaps what we can do in the next hour or two

   18     is to leave messages for them.        They can't call in here,

   19     our numbers are not working.

   20                 MS. LIMANI:    I know.    We tried.

   21                 THE COURT:    Sorry.

   22                 MR. FREEMAN:     And although this is -- I

   23     understand a lot of the people in this courtroom and the

   24     ones who live near the courthouse don't have power.            But I

   25     know that some members --


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                                                                     4526
    1                 THE COURT:    The vast majority of people don't

    2     have power on Long Island.

    3                 MR. SCHECK:    I know.

    4                 To the extent that this matters, it is probably

    5     low on everybody's list, but if we start tomorrow and we

    6     are thinking of staying out near the courthouse as we have

    7     been doing, and the hotels do not have power.

    8                 THE COURT:    The hotels don't have power?        They

    9     shouldn't be charging you a full rate if they don't have

   10     power.

   11                 MR. FREEMAN:     The way we were able to get here

   12     today.   We rented a car.

   13                 THE COURT:    Were you able to get through the

   14     tunnels?

   15                 MR. FREEMAN:     I went over the top of Manhattan

   16     and across the Throgs Neck Bridge.         The tunnels are -- the

   17     only tunnel that is operational is the Lincoln Tunnel, and

   18     that wouldn't help me.       We came a different way, but we

   19     made it.

   20                 THE COURT:    How long did it take you to get in?

   21                 MR. SCHECK:    An hour and a half, an hour and 45

   22     minutes.

   23                 THE COURT:    All right.

   24                 And have we heard from Mr. Scheck and

   25     Ms. Cornwall?


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                                                                           4527
    1                  MR. GRANDINETTE:    Yes, Judge.

    2                  On behalf of all the plaintiffs' counsel,

    3     everyone is in the same boat.        Flooded, no power, no

    4     internet problems.      Mr. Casteleiro is in Rockland County

    5     with difficulties as well.

    6                  We would ask the Court to consider -- I

    7     understand wanting to move forward.         And we are afraid of

    8     loosing jurors and delays as well.

    9                  I might ask on behalf of plaintiff's counsel for

   10     Friday rather than Thursday, and have a little more

   11     certainty.    We are trying desperately to secure some hotel

   12     rooms with power.      I tried for two days straight.

   13                  THE COURT:   Do you have power in your house?

   14                  MR. GRANDINETTE:    I don't have power.

   15                  Unfortunately, we are kicking into daylight

   16     savings time so it will be dark very early at 5:00

   17     o'clock.

   18                  Notwithstanding, we can get by certainly.         But

   19     it may be more practical if we had an extra twenty-four

   20     hours.   And I don't know if you agree to start Friday and

   21     give everybody a little more time.

   22                  THE COURT:   They have their witnesses lined up,

   23     and I would like to get the witnesses done.

   24                  Who would be cross-examining McCarty?

   25                  MR. GRANDINETTE:    We are not sure, Judge.       None


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                                                                            4528
    1     of the witnesses were on the projected witness list for

    2     this start.

    3                 THE COURT:     That was Monday.     Tomorrow is

    4     Thursday.

    5                 MR. GRANDINETTE:     We will be able to work

    6     through all that.

    7                 THE COURT:     Let's do it this way.

    8                 You are in touch with Mr. Scheck?

    9                 MR. GRANDINETTE:     Yes.

   10                 THE COURT:     And you or he are in touch with

   11     Ms. Cornwall?

   12                 MR. GRANDINETTE:     Yes.

   13                 THE COURT:    And Mr. Casteleiro?

   14                 MR. GRANDINETTE:     Yes, and we have a dial

   15     number, perhaps we can get a one eight hundred number.

   16                 THE COURT:    Yes.

   17                 MR. FREEMAN:     As I said before, if we have

   18     witnesses slotted for certain days and then we cancel

   19     them, it would be harder.

   20                 So, I'm not saying that we are insisting to go

   21     forward tomorrow or Friday or Monday.         I leave it for the

   22     Court's discretion.

   23                 THE COURT:     You have two live witnesses.

   24                 MR. FREEMAN:     Our main fear is we mobilize for

   25     tomorrow and we don't have all the jurors.          And I think


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                                                                            4529
     1     none of us want to go forward with a lesser complement

     2     than we have now because that could lead to being at the

     3     cusp of the six eventually; and I fear that in this case.

     4                  I just didn't want you to think we were

     5     insisting on going forward tomorrow.         It is in your

     6     discretion.     Mr. Grandinette said it, and we are in the

     7     same boat.    I'm not sure -- I didn't know whether to be

     8     here today or not be here today.        I felt that without

     9     being excused we had to be here today.

   10                   THE COURT:   I apologize.    We did try to get out

   11      the emails.

   12                   MR. FREEMAN:    That is not my point.     No

   13      criticisms.

   14                   I'm glad Mr. Grandinette is here.       Some of them

   15      took an opposite position.

   16                   I don't know what to do.     And I know you get to

   17      sit higher than me and wear robes, and I hope you make a

   18      wise decision.     But I didn't want you to think that we are

   19      insisting on going forward.

   20                   THE COURT:   Yes, Mr. Ferguson.

   21                   MR. FERGUSON:   One thing that might impact the

   22      availability of jurors for tomorrow, is I know that I have

   23      a witness scheduled for tomorrow, and he told me he can't

   24      get gas.     He lives in Lynbrook.     But there are huge

   25      problems with not only loss of power, but there are huge


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                                                                             4530
     1     problems with people not being able to get gas.           So we

     2     don't know if all these jurors will have gas to get here.

     3                 THE COURT:    What Mr. Baran will do is take a

     4     couple of hours to see if he can get contact with the

     5     jurors now.    If we get assurances from all ten jurors that

     6     they will be here, fine.      It varies.

     7                 There are certain people in Lynbrook that can't

     8     get gas.    You have to wait an hour on line in Rockville

     9     Center.    Yesterday I spent two hours trying to get gas.

   10      You have to wait a considerable amount of time.

   11                  Further out east on Long Island is all the gas

   12      you want.     All the stations are open and everybody has

   13      power.    And that is even on the south shore.        So it varies

   14      from location to location.

   15                  We can contact the jurors now.       They are pretty

   16      much in western Suffolk, Charley, and Nassau?          And we have

   17      some in Queens.

   18                  MR. GRANDINETTE:     One in Queens.

   19                  THE CLERK:    One in Brooklyn.

   20                  THE COURT:    One in Brooklyn and one in Queens.

   21                  MR. GRANDINETTE:     One of my big fears, and I

   22      don't know about everybody else, when I drove across the

   23      Island there are no traffic signals.

   24                  THE COURT:    There are in some spots.       It all

   25      depends.


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                                                                            4531
     1                  I drove from Western Nassau out to Eastern

     2     Suffolk and there are pockets.        It is very spotty.

     3     Probably the safest thing is to cancel for the rest of the

     4     week and come in on Monday, but I don't think we have that

     5     much time to do that.      And I think you have to make a

     6     reasonable decision.      Charley will try to get a hold of

     7     everyone he can get a hold of.

     8                  Ask your witnesses to hold off.       I don't know

     9     that McCarty and Peck are doing that much business, and

   10      unless they are in the arraignment business.          And one is

   11      in surrogates now, and in good times they work with half

   12      the staff.

   13                   That is where we are on that.

   14                   Give us about two hours, we will see who we can

   15      contact.   If we contact all ten of them, do the best you

   16      can.

   17                   Your witness is in Lynbrook, and he should go

   18      further east and get on a gas line.

   19                   MR. FERGUSON:    He is one small witness, and I

   20      brought it up for everybody.

   21                   THE COURT:      Do you have gas in your car,

   22      Mr. Ferguson?

   23                   MR. FERGUSON:    I got gas from the Eisenhower

   24      Park, the county.

   25                   THE COURT:   It must be good.


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                                                                      4532
     1                 MR. FERGUSON:    I think it is the only perk in

     2     that job in the last five years.

     3                  THE COURT:    Times have changed.      I didn't even

     4     get a token.

     5                 MR. FERGUSON:    I have a witness who is a

     6     building manager of a building, the United Cerebral Palsy

     7     in the city.     He is a witness.     And he is telling us the

     8     city is using the building as a shelter.         They need him to

     9     be there.    He is stuck in the city in a building being

   10      used as a shelter.

   11                  THE COURT:    He is not coming out until next

   12      week.

   13                  We will see where the jury is at.        It looks like

   14      we will have enough witness between McCarty, and Peck, and

   15      Serianni, and hopefully Dr. Bloom.        What is her status

   16      now?

   17                  MR. FREEMAN:    She was going to have some trouble

   18      getting here this morning.        And I believe she would make

   19      it -- well, now we are not sitting today.          But she should

   20      be able to make it tomorrow at some point.

   21                  THE COURT:    How long do you expect her to be?

   22                  MR. FREEMAN:    On direct maybe a half an hour.

   23      And I imagine cross would be equal or less.          She will just

   24      be following pretty much what she testified to previously.

   25                  THE COURT:    Okay.


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                                                                            4533
     1                Do you know who is cross-examining her?

     2                MR. GRANDINETTE:      I'm not sure whether I am or

     3     Mr. Casteleiro is yet.

     4                THE COURT:     You folks can figure it out, and we

     5     will get in touch with the jurors right now.

     6                Is the cafeteria open?

     7                THE CLERK:     Yes, it is.

     8                THE COURT:     All right, I will be back.

     9

   10                 (Whereupon, a recess was taken.)

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                                                                            4534
     1                (The following takes place at 1:55 p.m.)

     2                THE COURT:     We cannot get all ten jurors here

     3     with any assurance.     At least one remains a real distant

     4     gamble, because that person is in Long Beach, and they

     5     have not communicated with Mr. Baran.

     6                Chances are if they have a cell phone they have

     7     not been able to charge it, unless they are riding around

     8     in the car if the car has gas.        So that is not going to

     9     happen.

   10                 In addition, there is one juror who is concerned

   11      about a child that probably won't have school tomorrow.

   12      And can make some arrangements and that also is a push.

   13                 Based on all that we are going to hope for

   14      Friday.

   15                 Can you get folks in here on Friday?

   16                 I don't think anything is going to change with

   17      Judge McCarty and Peck.

   18                 MS. LIMANI:     We will contact them.

   19                 THE COURT:     If you lose one or two jurors now is

   20      way too risky.

   21                 MS. LIMANI:     We just made arrangements and are

   22      in the process of confirming them and we will switch it.

   23      If Peck and McCarty are not available we will bring them

   24      in next week.

   25                 THE COURT:     We will do the best we can then.


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                                                                           4535
     1                I wanted to rule on the applications.          So let me

     2     accomplish that today.

     3                With respect to John French there was a lengthy

     4     opposition to calling him again.

     5                I have decided that he may be permitted to

     6     testify and straighten out what appears to be confusion

     7     with regard to the photograph.

     8                As far as Debra Smith, there is a motion to ban

     9     her.   And I believe you responded to that and made a

   10      different application than previously.

   11                 I don't see any reason to ban her.         Whatever her

   12      mental state was in 1985, I can't make a definitive

   13      statement without seeing what she is like today.

   14                 I know she had been hospitalized, and there are

   15      certain issues.     But she is involved with work police put

   16      into it, and she can come in to testify.

   17                 That is my ruling.      You have an exception.

   18                 MR. GRANDINETTE:      Judge, it will take us

   19      literally, under five minutes, if you put her on the

   20      witness stand outside of the jury's hearing and just

   21      inquire.   That's all I'm asking you to do. I think it will

   22      become crystal clear within five minutes.

   23                 THE COURT:     If she is not competent to testify

   24      it will be crystal clear before the jury one way or the

   25      other and they can be told to disregard it.


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                                                                            4536
     1                  MR. GRANDINETTE:    Judge, at that point in

     2     time -- please note my exception.

     3                  THE COURT:   And Ms. Kruse, she has what I

     4     consider to be relevant testimony in terms of her

     5     relationship with Kogut and Halstead.         I will let her

     6     testify.

     7                  The name for Kim Beyers, B-E-Y-E-R-S, Kruse,

     8     K-R-U-S-E, and Regina Fuhrman, F-U-R-H-R-M-A-N,

     9     Nezmoudeen, and she is not going to be testifying about

   10      the disappearance.     But she does appear to have some

   11      indication of an association with Mr. Halstead and

   12      Mr. Kogut.    And upon information and belief, I assume this

   13      is as a result of interviewing this witness, the

   14      defendants maintain that Regina Nezmoudeen indicates she

   15      was 14 years old in 1984, and turning 15 at the end of the

   16      year, and was in Dennis Halstead's apartment with Dennis

   17      Halstead and John Kogut, and she dated John Kogut for a

   18      short period of time in 1984.

   19                   This appears to be relevant testimony and will

   20      rebut any presumption of fabrication of evidence with

   21      regard to John Kogut's confession, and also to proof with

   22      respect to malice.

   23                   Retired detective Anthony Kosier.       There is some

   24      limitation here with the polygraph.        He is not going to

   25      testify about polygraph, so what is he going to testify


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                                                                              4537
     1     to, Mr. Freeman?

     2                 MR. FREEMAN:    He is going to testify to

     3     admissions made during the pre-test after warnings.

     4                 THE COURT:    And what were those statements by

     5     Mr. Restivo?

     6                 MR. FREEMAN:    Your Honor, I don't want to

     7     misstate.    I'm waiting for a copy.

     8                 MS. LIMANI:    It is number five here.

     9                 (Handed to the Court.)

   10                  MR. FREEMAN:    So the Court is clear, we are not

   11      seeking to introduce every part of what was said.           Only

   12      that Restivo said to Kosiar, K-O-S-I-A-R, that Mr. Kogut

   13      is the kind of person that could or would do this.           You

   14      have my copy, but it is very close to what I just said.

   15                  THE COURT:    He said he knows he has a fetish of

   16      some sort about child porn.

   17                  MR. FREEMAN:    We are not seeking to introduce

   18      that.   Just the phrase --

   19                  THE COURT:    Kogut is the type of guy who could

   20      kill Fusco?

   21                  MR. FREEMAN:    It can go to lack of malice --

   22                  THE COURT:    Was it the portion that deals with

   23      the portion that says Kogut would not make any admissions?

   24      That would come in, too.

   25                  MR. FREEMAN:    Yes.


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                                                                      4538
     1                THE COURT:     And that is the only portion of this

     2     you would seek to have admitted?

     3                MR. FREEMAN:     Yes.

     4                And also, earlier there had been litigation

     5     about the use of polygraph pre-test.         And when your Honor

     6     ruled that there would be no reference to polygraph other

     7     than the limited discussion that plaintiffs and

     8     defendants' counsel agreed to, than Mr. Kogut was told

     9     that you failed.     But there would be nothing else about

   10      results or any other information, that I believe implicit

   11      does it, if not explicit in your ruling, that the

   12      questions in the pre-test could be used, under the

   13      subjection of 404 and 403.       But we are seeking to admit

   14      just that portion for the reasons that I stated, through

   15      Kosier not identifying, or suggesting it had anything to

   16      do with a polygraph.      Just that when he was at homicide he

   17      made this statement after warnings to a detective.

   18                 THE COURT:     Now, this statement was not elicited

   19      at Mr. Kogut's criminal trial, or Mr. Restivo's or

   20      Halstead's trial; is that correct?

   21                 MR. FREEMAN:     I believe Mr. Kosier testified in

   22      Mr. Restivo's trial, and I would have to check.

   23                 THE COURT:     Was it also --

   24                 MR. FREEMAN:     In the contention interrogatories,

   25      yes.


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                                                                            4539
     1                MR. GRANDINETTE:      I understand that Kosier's

     2     testimony was not in the trial.

     3                The state of mind of John Restivo in his opinion

     4     is clearly not relevant to a finding of fact, and cannot

     5     form a basis of probable cause to question John Kogut or

     6     arrest John Kogut.

     7                Clearly, Detective Volpe admitted as such, and

     8     that when he asked John Kogut to come in he wasn't a

     9     suspect.   It wasn't in dispute on March 21st, or March

   10      25th.   He just asked him to come down.

   11                 On the other hand, it is extremely prejudicial

   12      to permit Kosier to come in and give an opinion statement

   13      of John Restivo, which Restivo had already, I believe,

   14      denied making, that Mr. Kogut is capable of killing

   15      someone.

   16                 That is the exact kind of opinion testimony that

   17      would be precluded under the Federal Rules of evidence,

   18      and it should be in this case, irrespective of whether or

   19      not there was a call, that John Kogut didn't make any

   20      admissions to Mr. Restivo.       It just gives it more factual

   21      basis to preclude the improper opinion.

   22                 He has given an opinion upon which there is no

   23      factual foundation.

   24                 So, on multiple levels I don't think it should

   25      be permitted.    In addition, if that is the only purpose of


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                                                                  4540
     1     Mr. Kosier coming in to testify, then we have eliminated

     2     another witness in a time-sensitive case.

     3                  I will leave my other arguments for my

     4     co-counsel on the issue of solicitation in the pre-poly

     5     interview.

     6                  With respect to the other rulings, with respect

     7     to Fuhrman, I would ask for an opportunity because there

     8     is so much overlapping on these rulings with my

     9     co-counsel.    They are not here.      And I'm sure they wish to

   10      articulate specific objections.        So, rather than do it in

   11      piecemeal we would like a brief opportunity to address

   12      that with the Court on Friday.

   13                   THE COURT:   You want to give your objections

   14      again?

   15                   MR. GRANDINETTE:    I would like to be able to

   16      permit -- I don't know every objection my co-counsel would

   17      gave.

   18                   THE COURT:   Then they can give their objections

   19      and I can rule on them at that point.         But at this point I

   20      don't see any reason to preclude John French, Debra Smith,

   21      Kim Beyer Kruse, or Virginia Fuhrman.         And I will wait on

   22      Detective Anthony Kosier.

   23                   But there have been a number of things said

   24      during the questioning of Mr. Restivo that did come in and

   25      did not say anything about polygraph.


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                                                                            4541
     1                So, I will examine that when Mr. Scheck or

     2     Ms. Cornwall appear.

     3                MR. GRANDINETTE:      Okay.

     4                I have great concern about the propensity issue,

     5     and this is the Kim Beyer and Virginia Fuhrman testimony

     6     with respect to that argument.

     7                Irrespective of whether or not the testimony

     8     they seek to elicit is not probative probable cause,

     9     again, it is at best probative of a collateral issue.            And

   10      when you weigh that against the propensity argument which

   11      they have been trying to elicit -- and it has been

   12      acknowledged by Mr. Ferguson directly to the Court in a

   13      conference -- that, yes, that is part of the plan here, to

   14      solicit testimony with respect to attacking the character

   15      of specifically Mr. Halstead.       And now they are trying to

   16      also suggest with respect to Mr. Kogut, that somehow

   17      because he may have associated with a young girl he

   18      therefore transforms into a rapist and murderer.

   19                 If that is the probative basis for which they

   20      seek to admit it, I think it is extremely prejudicial and

   21      of no probative value on whether or not on November 10th,

   22      1984, John Kogut was present and involved with this crime.

   23                 He has acknowledged a relationship with one of

   24      the witnesses, Kim Beyer, and that is not in dispute.

   25      That was covered in some of the motion in limines in great


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                                                                             4542
     1     length.   And the Court ruled on that.        And my

     2     understanding was that the Court precluded that testimony.

     3                 But I would like an opportunity, Judge, to

     4     address it briefly after I speak to co-counsel and we are

     5     in a position --

     6                 THE COURT:     I don't want to hear it again.         That

     7     is my point, Mr. Grandinette.

     8                 MR. GRANDINETTE:       I don't blame you.

     9                 THE COURT:    I heard it over and over and over

   10      again.    When I make a ruling I make a ruling.         I don't

   11      want to hear it ten more times.

   12                  MR. GRANDINETTE:     They are not here.

   13                  THE COURT:     I will listen to them, but I'm done

   14      with your argument.

   15                  MR. GRANDINETTE:       I will sit down.

   16                  THE COURT:    All right.

   17                  MR. SCHECK:    Judge, on this point, the Neufeld

   18      firm submitted a letter, and it is their motion.

   19                  THE COURT:    Right.

   20                  MR. FREEMAN:    I think that the record is clear

   21      from their motion what their issues are.

   22                  THE COURT:    Yes.

   23                  MR. FREEMAN:    And I think --

   24                  THE COURT:     I don't think I have to hear much

   25      more argument on it tomorrow or Friday.


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                                                                            4543
     1                  MR. FREEMAN:    With respect to housekeeping,

     2     logistics and communication, I'm not sure how we will be

     3     able to communicate tomorrow, unless Mr. Grandinette is

     4     going to be in the neighborhood.

     5                  THE COURT:     Well, tomorrow we are not meeting.

     6                  The next thing we are going to do, you all are

     7     going to give us your cell phone numbers, and then make

     8     sure you are close by, and we are hopeful that our phones

     9     will get up and be working.       I don't know when that is

   10      going to be, and not very hopeful as to the land line

   11      coverage here.

   12                   Emails appear to be working.      It is slow.     But

   13      you should email Mr. Baran, and we are hopeful that that

   14      will assist everyone in contacting you all.

   15                   MR. FREEMAN:    We have supplied phone numbers to

   16      Mr. Baran.

   17                   THE CLERK:   Yes.

   18                   MR. FREEMAN:    Cell phone numbers.

   19                   Our office is without power.

   20                   THE COURT:     You don't have phones either?

   21                   MR. FREEMAN:    I don't think so.     I haven't

   22      really tried.    I know we don't have power for computers.

   23                   THE COURT:     Mr. Ferguson, how about you?       You

   24      have a cell phone?

   25                   MR. FERGUSON:     I have a cell phone.    I don't get


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                                                                       4544
     1     any reception in my home.       I leave the house, go down the

     2     street, everything I can do, but I don't get reception.

     3     If I do get some, it just cuts off.

     4                THE COURT:     And that is consistent whether you

     5     are here or at your home?

     6                MR. FERGUSON:     I'm talking about mostly at my

     7     home.

     8                THE COURT:     And how about your office?       Have you

     9     been there?

   10                 MR. FERGUSON:     I was in my office yesterday.

   11                 THE COURT:     Do you have phone coverage there?

   12                 MR. FERGUSON:     Yes, I do.

   13                 THE COURT:     But not cell phone coverage?

   14                 MR. FERGUSON:     I have land line coverage at my

   15      office.

   16                 THE COURT:     All right.

   17                 MR. FREEMAN:     I will make it my responsibility

   18      of notifying Mr. Ferguson.        We will find a way.

   19                 THE COURT:     Good.

   20                 I assume that Ginsberg's closing was not

   21      accomplished?

   22                 MR. FREEMAN:     Not only was it not accomplished,

   23      but the banks -- I don't know if you had any experience

   24      with what is going on these days with loans, but the bank

   25      wants to inspect the building that he is buying into,


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                                                                            4545
     1     post-storm.

     2                  THE COURT:   Wouldn't you?

     3                  MR. FREEMAN:   I don't know.     But we may have to

     4     evaluate his competence.      Let's put it that way.

     5                  THE COURT:   Tomorrow, let's shoot for no later

     6     than 3:00 o'clock in getting that information to you.

     7                  MR. FREEMAN:   Sounds good.

     8                  THE COURT:   Okay.

     9                  That is about it.

   10                   MR. FREEMAN:   We are anticipating we will be

   11      here on Friday, but just not positive.

   12                   THE COURT:   Hopeful.    Extremely hopeful.

   13                   I have an emergency application after you folks

   14      clear out.

   15

   16

   17                    (Proceedings adjourned until 9:30 o'clock,

   18      Friday, October 2, 2012.).)

   19

   20

   21

   22

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